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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 OPTIS WIRELESS TECHNOLOGY, LLC,
 OPTIS CELLULAR TECHNOLOGY, LLC,                 Civil Action No. 2:19-cv-00066-JRG
 UNWIRED PLANET, LLC, UNWIRED
 PLANET INTERNATIONAL LIMITED,
 AND PANOPTIS PATENT                             JURY TRIAL DEMANDED
 MANAGEMENT, LLC,

                             Plaintiffs,

         v.

 APPLE INC.,

                             Defendant.




      ORDER GRANTING DEFENDANT APPLE INC.’S UNOPPOSED MOTION TO
               WITHDRAW AMY R. PEARLMAN AS COUNSEL
         Before the Court is Apple Inc.’s Unopposed Motion to Withdraw Amy R. Pearlman as

 Counsel. The Court, having considered same, is of the opinion the motion should be GRANTED.




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